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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division

UNITED STATES OF AMERICA                    :
                                            :
       vs.                                  :       1:21-CR-260
                                            :
CRISTIAN AREVALO ARIAS,                     :
                                            :
       Defendant.                           :       Honorable Leonie M. Brinkema
                                            :

MOTION TO GRANT RELIEF REQUESTED IN MOTION FOR ACCESS TO SEALED
   VASQUEZ REYES DOCUMENTS AND GOVERNMENT MOTION TO SEAL

       Mr. Arevalo hereby moves this Court to grant the relief requested in his Motion for

Access to Sealed Vasquez Reyes Documents and Government Motion to Seal (filed under seal

December 29, 2023). In support of this Motion, Mr. Arevalo states as follows:

   1. On December 29, 2023, Mr. Arevalo filed a motion for access to certain sealed

       documents pertaining to codefendant Juan Vasquez Reyes.

   2. As set forth in Mr. Arevalo’s motion, the documents are necessary to support both Mr.

       Arevalo’s argument that Vasquez’s deportation violated Mr. Arevalo’s due process rights

       and his trial defense.

   3. To analyze and incorporate the documents into his litigation and trial defense, Mr.

       Arevalo must have access to them before his trial begins in less than a week.

   4. As of the end of the day on January 16, 2024, the government had not responded to Mr.

       Arevalo’s motion.

   5. This Court should thus deem the motion unopposed and grant the requested relief.

                                       CONCLUSION

       WHEREFORE, Mr. Arevalo respectfully objects to the ongoing sealing of Vasquez’s



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record and moves this Honorable Court for access to the sealed documents. In the alternative,

Mr. Arevalo moves this Honorable Court to order disclosure of his sealed sentencing hearing, the

offense conduct portion of his PSR, and the government’s motion(s) to seal to counsel for Mr.

Arevalo.

Respectfully submitted,
CRISTIAN AREVALO ARIAS

s/ Bernadette Donovan

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Counsel for Cristian Arevalo Arias


                                CERTIFICATE OF SERVICE

        I, Bernadette Donovan, Esq., hereby certify that on this January 17, 2023, I electronically
filed the foregoing with the Clerk of the Court using the CM/ECF system, which will send
notification of such filing to all counsel of record. A Notice of Electronic Filing will be served
on:

John C. Blanchard
Maureen Cain
Matthew K. Hoff
Assistant United States Attorneys
Attorney for the United States



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s/ Bernadette M. Donovan




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